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UNITED STA'I`ES OF AMERICA

_v_ Case No. 2:05¢1'202] 9-001B

TOMMIE LEE BALLARD

 

ORDER SETT|NG
COND|T|ONS OF RELEASE

IT IS ORDERED that the release of the defendant is subject to the following conditions and provisions:

(l) The defendant shall not commit any offense in violation of federal, state or local law while on release in this
case.
(2) The defendant shall immediately advise the court, Pretrial Services Offtce, Probation Office, defense counsel

and the U.S. Attorney in writing of any change in address and telephone number.
(3) The defendant shall appear at all proceedings as required and shall surrender for service of any sentence

imposed as directed The defendant shall next appear for Arraignment in the United States Courthouse
and Federal Building in Courtroom #5 on Wednesday, September 7, 2005 at 9:30 a.m.

ADD|T|ONAL COND|T|ONS OF RELEASE

In order reasonably to assure the appearance of the defendant and the safety of other persons and the
cominunity, it is FURTHER ORDERED that the release of the defendant is subject to the conditions marked below:

Secured Financial Conditions

0 execute a bond in the amount of $5000 or an agreement to forfeit upon failure to appear as required, and post
with the following amount of money to be deposited into the registry of the Court: $500.

0 report as directed by the Pretrial Services Office.

¢ maintain or actively seek employment

0 refrain from excessive use of alcohol

¢ refrain from any use or unlawful possession of a narcotic drug or other controlled substances in 21 U.S.C` §

802, unless with prior written approval of the Pretrial Services Officer or as may be lawfully prescribed in
writing by a licensed medical practitioner.

0 submit to any method of testing required by the Pretrial Services office or the supervising officer for
determining whether the defendant is using a prohibited substance Such methods maybe used with random

Tbis document entered on the docket she- in compliance

AO 199A Order Selting Conditions of Release \'J~J\i'fh Ru'te 55 and/Ol' 329le l:l':lc|'? Uf`l ®

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frequency and include un`ne testing, the wearing of a sweat patch, a remote alcohol testing system, andfor any
form of prohibited substance screening or testing

0 participate in a program of inpatient or outpatient substance abuse testing, education or treatment if deemed
advisable by Pretrial Services and pay a percentage of the fee as determined by Pretrial Services.

ADVlCE OF PENALT|ES AND SANCT|ONS

TO THE DEFENDANT:

YOU ARE ADV|SED OF THE FOLLOW|NG PENALT|ES AND SANCT|ONS:

A violation of any of the foregoing conditions of release may result in the immediate issuance of a warrant for
your arrest, a revocation of release, an order of detention, and a prosecution for contempt of court and could result in
a term of imprisonment, a fine, or both.

The commission of a Federal offense while on pretiial release may result in an additional sentence to a term
of imprisonment of not more than ten years, if the offense is a felony; or a tenn of imprisonment of not more than one
year, if the offense is a misdemeanor 'l`his sentence shall be in addition to any other sentence

Federal law makes it a crime punishable by up to ten years of imprisonment, and a $250,000 fine or both to
obstruct a criminal investigation lt is a crime punishable by up to ten years of imprisonment1 and a $250,000 fine or
both to tamper with a witness, victim or informant; to retaliate or attempt to retaliate against a witness, victim or
informant; or to intimidate or attempt to intimidate a witness, victim, juror, informant or officer of the court. The
penalties for tampering, retaliation, or intimidation are significantly more serious if they involve a killing or attempted
killing

If after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the
service of sentence, you may be prosecuted for failing to appear or surrender and additional punishment may be
imposed If you are convicted of:

(l) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more, you
shall be fined not more than $250,000 or imprisoned for not more than ten years, or both;

(2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years, you shall
be fined not more than $250,000 or imprisoned not more than five years, or both;

(3) any other felony, you shall be fined not more than $250,000 or imprisoned not more than two years, or both;

(4) a niisderneanor, you shall be fined not more than $100,000 or imprisoned not more than one year, or both.

A term of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any
other offense In addition, a failure to appear may result in the forfeiture of any bond posted.

Ao tssA order setting conditions cr Release -2-

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ACKNOWLEDGMENT OF DEFENDANT

l acknowledge that I am the defendant in this case and thatl am aware of the conditions of release I promise
to obey all conditions ofrelease, to appear as directed1 and to surrender for service of any sentence imposed l am aware
of the penalties and sanctions set forth above

Signature of Defendant

 

Tommie Lee Ballard
XXX-XX-XXXX

826 Buntyn
Mernphis, TN 38114
323-8'769

DlRECT|ONS TO THE UN|TED STATES MARSHAL

The defendant is ORDERED released after processing
The United States marshal is ORDERED to keep the defendant in custody until notified by the Clerk or
Judicial Officer that the defendant has posted bond and/ or complied with all other conditions for release The

defendant shall be produced before the appropriate judicial officer at the time and place specified, if still in
custody.

Date'. August$l, 2005 S%/?`-§ %a)

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE .TUDGE

l:l|:]

AO tQQA Order Setting Condiiions of Re|ease -3-

UNITE s SDISTRIC COURT -WESRTE D'sT'CT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 7 in
case 2:05-CR-202]9 was distributed by faX, mail, or direct printing on
September 1, 2005 to the parties listed.

 

 

PDA

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

l\/lemphis7 TN 38103

Stephanie Zander .lohnson
U S ATTORNEY'S OFFICE
167 N. l\/lain St

Ste 800

l\/lemphis7 TN 38103

Honorable .l. Breen
US DISTRICT COURT

